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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                                                               2OIUAIJG-3   P11   ti:2t
                                      AUSTIN DIVISION

CENTER FOR BIOLOGICAL                          §
DIVERSITY AND SAVE OUR                         §
SPRINGS ALLIANCE, INC.,                        §
              PLAINTIFFS,                      §
                                               §
V.                                             §
                                               §     CAUSE NO. 1:1 6-CV-876-LY
TEXAS DEPARTMENT OF                            §
TRANSPORTATION; JAMES BASS,                    §
EXECUTIVE DIRECTOR; AND                        §
UNITED STATES FISH AND                         §
WILDLIFE SERVICE,                              §
              DEFENDANTS.                      §

                                    SCHEDULING ORDER

       The court has before it Joint Status Report and Request for Briefing Schedule filed July

18, 2018 (Dkt. No. 18).   The court has reviewed and now approves of the dates in the status

report and renders the following scheduling order.

       IT IS ORDERED that Plaintiffs will file their motion, briefing, and exhibits for

submission on the merits on or before September 5, 2018. The briefing is limited to 40 pages,

excluding exhibits.

       IT IS FURTHER ORDERED that Defendants will each file a response on or before

October 24, 2018. The responses are limited to 30 pages, with a 60 page total limit.

       IT IS FURTHER ORDERED that Plaintiffs will file a reply on or before November

21, 2018. The reply is limited to 20 pages, excluding exhibits.

       IT IS FURTHER ORDERED that the Plaintiffs will file a joint appendix on or before

December 7, 2018.
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       IT IS FURTHER ORDERED that this case is set for a bench trial in Courtroom No. 7,

Seventh Floor, the United States Courthouse, 501 West Fifth Street, Austin, Texas, on January

23, 2019, at 9:30 a.m.

       SIGNED this               day of August, 2018.




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                                          UNI ED STATE DISTRICT JUDGE
